 

:06-cv-15211-DML-SDP ECF No. K PagelD.1 Filed 11/22/06 Page 1of8
pone
i, ba fod

  
    

 

Official Use Only

Gage Number dud

 

 

Case: 2:06-cv-15211

Assigned To: Lawson, David M
Referral Judge: Pepe, Steven D
Filed: 11-22-2006 At 08:57 AM

PRIS TOWNSEND V DUGGAN (EW)

 

 

 

 

 

eS ea
PRISONER CIVIL RIGHTS COMPLAINT

This form Is for use by state prisoners filing under 42 U.5.C. § 1983 and federal prisoners filing pursuant to Bivans v. Six
Unknown Named Agents of Faderal Bureau of Narcotics, 403 U.S, 388 (1977).

 

Plaintiffs Information

Name Ton y For 2g / Toc II Cot o/ PrisonerNo. 2 9/7 7O

Place of Confinement ason Cody Af Por Lue, Fe: Gey er Koad Caé-see! chy
PO. Bor, S000 Chie tory Gib, pf EZ YSE A T0Ce

 

 

 

 

 

 

 

 

Streat City State Zip Code
hoy 1 Foal | Casen tty float Se\ — Canserd Cob Me | ofiyj-Sw
Are there additional plaintiffs’? C1 Yes @ Na

 

If Yas, any additional piaintiffs to this action should be listect on a separate 814" x 11" sheet of paper and securely
attached to the back of this complaint You must provide names, orisoner numbers and addresses for all plaintiffs.

 

 

Defendant's Information

 

 

 

Name ike L Oy, yagqe) Position Lely Ml Ceevtf frosted iy
StreetvP.0, Box City State Zip Code
Met 3 AaToiee Retro, ME AZ Yb Zt

 

 

 

 

Are you sulng this defendant in his/her: 4 Personal Capacity [Official Capacity 1 Both Capacities

 

Are you sulng more than one defendant? Mi Yas QD) No

 

If yes, any additional dafendants to this action should be listed on a separate 814" ¥ 71" sheet of paper and securely

attached to the back of this complaint. You must provide their namas, positions, current addresses and the capacity
(personal offical or both) in which you are suing them.

+

 

 

 

 
  
 
  
  

?06-cv-15211-DML-SDP ECF No. 1,:PagelD.2 Filed 11/22/06 Page 2 of 8

Vv. 5/28/05) Prisoner Civil Rights Complaint —

. PREVIOUS LAWSUITS

Have you filed any other lawsuits in state or federal court relating to your
imprisonment?

0 Yeas # No

lf “Yes,” complete the following section. If “No,” proceed to Part Il.

Please list all prior civil actions or appeals that you have filed in federal court
while you have been incarcerated.

 

Docket or Case Number: z Se 37 /

 

Name of Court: PV chi 4nd Lourt of Appeals

 

Parties (Caption or Name of Casa}:

heople of the State ot. Mt hi ggod LpecH{ee Ue Leite Dossadied
Disposition: Appeal Desired

 

 

 

Docket or Case Number: / 3 oO &Y 2.

 

Name of Court:

 

ehigad Soprene Loort of Appeals

Partles (Caption or Nama of Case}:

feoyle of She Shote ef. Pie he'g 2. Appellee “ Jeno Foren Fncarseard

 

Disposition: App ea De, J

 

 

 

Docket or Case Number: ~~
fo be assigamed ,
“ régucs bed

Us pisdect Fadecal Habeas Coc pus filed defective resewd .

 

Partles (Caption or Name of Case):
—_

-_ - . = ——
Feel of the Shote of Pichino. Hopetfe Vv. Lev Jorea! levanée og

 

 

 

Dispositl (
sp08 oe Jecal Hobes ts de Leehioe a regvested f fe he gent back /

 

Any additional civil actions should be listed on a separate sheet of 814" x11"
paper and securely attached to the back of this compiaint.

res
    
  

2:06-Cv-15211-DML-SDP ECF No. 1,PagelD.3 Filed 11/22/06 Page 3 of 8

ey. 5/22705) Prigonar Civil Rights Complaint

 

ll. ADMINISTRATIVE REMEDIES

You are required to inform the Court of the steps you took to exhaust
available administrative remedies with regard to each of your claims and to attach to the
complaint copies of the documents which show that you have done so. For example,
attach copies of the grievances you submitted regarding each claim and the responses
you received. If these documents are not available, you must describe in detail the
administrative proceeding and its outcome so that the Court may determine what
claims, if any, have been exhausted.

1. If you are in the custody of the State of Michigan or one of its subdivisions,
did you:

a. File a grievance with the Step 1 Grievance Coordinator?
O Yes @No

b. Appeal to the Step 2 Grievance Coordinator?
nYes & No

c. Appeal to the Step 3 Grievance Coordinator?
0 Yes No

lf you did not take one or more of these steps or, if these documents are not

available, please explain: WS_0_w¢e7_A Mee ice wih an EFtepfire 70 Bovey
fihely peti rhe Deprad, felitt aad Wifi Cords bbvtct mod gata tl
Acres, Fillaes, bovenpteeal willfd fetitymal! posirecttd Josie, Comal
fetud, “(etfs Tienpivg , fare MOC kthled ord Krieein Pt til PEsiiMtins
teil frbe bindinel, Mveai fealeal Poa Pifonmle Cotratced marerat”
Asumy faces Maat s fo procure yactads Foe a fiilte acetl, untiattiulmat

bint Liht’$ Pegji.wiwas od Beat ed furry Firagh Foowrsavel or pif LE aed
Libitly V2 lsc § (e83 , MOR 3 BOG Met "Geo, (101 Cf 50g, hbk Gop. EY 70 F GVT0
Be Huhpes, fobice, fists, fate EF NCVS CO ied FHEC Gerdes wd

i

Mac sv pre Preveved GnIH kttted ppad ExbibeTd jh sugant Ade Fara domrtgy
*

2. If you are a federal detainee, prisoner or parolee, and if your claim concerns
parole, did you appeal to the National Appeals Board of the United States
Parole Commission?
Oo Yes @ No

lf no, please explain:

 

 

 

 

 

 

 

 

 

 
2:06-Cv-15211-DML-SDP ECF No. 1, PagelD.4 Filed 11/22/06 Page 4of 8

 

    

3. If you are a federal detainee, prisoner or parolee, and if your claim involves
something other than parole, did you:

a. Attempt to resolve your complaint informally?
0 Yes a No
b. File a formal complaint?
0D Yes gw No
c. Appeal to the warden?
0 Yes @ No
d. Appeal to the Regional Director of the Bureau of Prisons?
O Yes BNo
e. Appeal ta General Counsel for the Bureau of Prisons?
0 Yes @ No

If not, please explain:__47 @ #4006 issue ike eaepie Coontf Covktarner
Agents Ret dans ard Sidte aogjyats elated Whe Lett ded (Wt) OF lQa/
Heclatay Hy sca F try xXNE

 

 

 

 

 

 

 

li. STATEMENT OF FACTS

State here, as briefly as possible, the facts of your case. Describe how each
defendant is involved. Include the names of other people, dates and places involved in
the incident. Do not give any legal arguments or cite any cases or statutes. If you intend
to allege several related claims, number and set forth each claim on a separate 814" x
11” sheet of paper and securely attach the papers to the back of this complaint.

A Palit of iier ivas shel aed ile ori Asgeat M1, 2000 pv Eastivte pl the thy
LE betod at M229 Colbeft. He ctr fie JUVE OF Cirle oC tae,”
ad fherov9) Mnveshgatiirt Whey Just Redd vp 70 Aagle ag al (SU peal. jared!
jaye fi bua fewer Residue 2 Did NOT fe toy at Ad Basie ¢- GMT

sHocel ANY AIC, Officer? Deak THome and Detradt Police tyites Mtrchecl-
Cacbiste’ and & MA isjereredted muduce FHA STC (Car ed pang tr wi Pr
rhe uiype lovedy frisecvToel aad Gad Getul Tedges! AAA 367 Pater
Couey Judges chia Stool Hbdl Keb, Boon HS Cate Ge je 30d Ce Let
OF way Cealy Tie fownitad tw 30d Cveul aofeagtoes Cou forded
i untewtl! gad ba conshtititvwel aad hes gat Pith SF00C Ge
File fatter 5 , Ste Aftactte cates Lewpyik flaces,
 
 
 

2:06-cv-15211-DML-SDP ECF No. 1, PagelD.5 Filed 11/22/06 Page 5 of 8

IV. RELIEF

    

State briefly and exactly what you want the Court to do for you.

L, ‘wate rh’ begat untawfel _ovtethlujwat, feavdlenty eotuta Conuicliygs ¢
eaat THS “tlie pad ‘Hold a Fell Franks Heo4, 70 wicake thes Fodgersen”

2, bd a full FEE Fedial povaiigatiire ped Hill Clg star employ te einlly
ard Ett atually Fist respopesble 5 And brant Fedtat sdeFoent6 1 Aegetcet

 

3, bepsvtal Te Frestvanl VU, Lucysa fdopiita puted Dumage Of 1S pelien
PVllas 5 La €_ fawn phe Gale of bf “il aE 2002

 

 

I declare (or certify, verify, or state) under penalty of perjury that the
foregoing is true and correct.

Executed (signed) on f Of 3/ / Ce (date).

Tone, Ton.macnel

Signatyire of Plaintiff

ee
   
  
  

?06-cv-15211-DML-SDP ECF No. 1, PagelD.6 Filed 11/22/06 Page 6 of 8

GSJ110 4/90

FEPARTMENT OF CORRECTIONS 110 ar
STATIONARY

 

 

 

 

 

 

FROM:
NAME NAME
NO. AND STREET on RR. NO, LOCK
CITY BTATE “| ZIF INSTITUTION " DATE

 

 

 

 

 

 

 

 

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ‘ENVELOPE

NAS Adres. Pobli bol Clothe
Denct Thres ppp, 1300 Beavblen But, tent, a yeete PSB
Mdhacy Cadlisle DP ig, 1300 Beason vetmt mk eee FF
fay McCalister db bjt, 1300 Beavbien etait, Me Yet ee

Dana Liselt Dé bet, _¢300 Pavia hat, ME Vite Go
SO Stegat DP WA 100 peauben Detet ME C0cemed 4B

 

 

 

 

 

 

Stolf- boat zal DP pH! Bt Bewhra Dera, ME wee A
Lt tyanls DP ORE. 1300 —Btaubitg pitrat, WE YR EOP ee
4 vViverthe WOO 300 beevbnn petal, ME Y heel L-of |
thi, , Tadd DE PPE 1360 Beavben fpetat, Mk vey ik - 22 oe
Kibert ee wet DOP. te Btadter Detajf, ME ye

 

 

he Gesments OOF t300 Beavodn petat ME free Oo
Det. Autry Aibpatial soo Petvblny petnt ME ew
Fuel ftarl roe vpn 900 Beever rebut, WE yeere
tauad tellin DW Det 1990 _Beavhon Detwt, ME eee

Mer Cimmite! | 70 mite! Te thes OUFCTS <2) rts THe. Yusetlian Ne _ Neder ousetesed , Au Kail pourl Bruhn
nae Baby, Meefiaed, 979 VS 83, SIS UAYCL cp a

 

 

 

 

 

 

Pete peg Beye 4. t. WY st Kalin Detint ME yvr2G- 8389 1D 22d Hom
toned 0 FaNscac twnstad — Dd bu, Tage MEL St Adlterr betat, ME_Yerty- 2504 Ga) ted- stot
Norma DOTS 26" Datict So) Oattman Od Déat, HE Bee" Cue Melba?
Deal Crp bekae Leger lectamd) 535° bisuold *# He 2632 _ betut, Ur "zz ies 00
Lunllidn Writers defrase Lawyer (tei Atoniel) 11440 FAcwnin ten Rd He HO Linnia ao UC 48152655 “Nb
Std Ford Ae Shy linac (Attlee t fun stl) 4o7 E. foct rf. fort Ht. Ste it Derart, H UE Yez76- 20h (99) 463-* 740
Wayne County fessecv Tos Dane Pendergast Rd.oor 30MG Laasiog, MI YeqOd (517) _aul~ 6504

Wayive lovoky fusceotc Demetny Prue M4 ST Antoine Detwit ME G22 (313) 224- Fu

Hidunet Qoggan [Hier we ye Obudy frastler a lu at fine 3440 Joh ‘2. BR. A. Delert ME $820) (313) 7¥s ese

(yw tusly ‘Rosetotoc_ Tat Nagy _ YL Auten Detiot , Mi Y7eb (313) 224 S777 oo

 

 

 

 
 

   
   
    

?06-cv-15211-DML-SDP ECF No. 1,‘PagelD.7 Filed 11/22/06 Page 7 of 8

EPARTMENT OF CORRECTIONS eae si0
STATIONARY

 

 

 

 

 

 

 

: FROM:
NAME NAME
NO. AND STHEET on FA. 7 . NO. , LOCK:
CITY "* “STATE \ IF INSTITUTION uo DATE

 

 

 

 

 

 

 

 

 

iN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

 

 

“Timothy A. Brahman _fascote way tunty AMI St, Aan 5 Obit AE dary A) 204~ 5207
tin Fuctan Pewtotor Waywe flowty {441 st. Avterne St Detent ME Wey C90) 224-5742

ELiza geth Te parker Jisrestor vite ComFy uy] st Antoine st Detat ME dhe (99) 22 4- $807

 

 

 

 

 

 

 

 
 

  
  

 

   

  

   
    

2

Plea

Co " daa

 

 

 

ate Number:

 

K3{770

 

 

FACILITIES, LISTED ALPHA BY CITY:

DB PARR HIGHWAY CORRECTIONAL
FACKITY
#727 E. BEECHER STREET
ADRIAN, MI 49221

FB GUS HARRESON GORRECTIONAL FACILITY
P2797 E, BEECHER STREET
ADRIAN, MI 48221
LENAWEE GOUNTY CODE: 26091

6 BARAGA MAXIMUM CORRECTIONAL
FAGIITY
301 WADAGA ROAD
BARAGA, Mi 49908
BARAGA COUNTY CODE: 26043

BOYER ROAD CORRECTIONAL FACILITY
tb274 BOYER ROAD

CARSON CITY, Mi a5at4 .
MONTCALM COUNTY CODE: 26117

O FLORENCE CRANE CORRECTIONAL
FAGHITY
P.O, BOX 307, 38 FOURTH STREET
COLDWATER, MI 40036

B LAKELAND CORRECTIONAL FACHITY
141 FIRST STREET
COLDWATER, Mi 45036
BRANCH COUNTY CODE: 24023

8 MOUND CORRECTIONAL FACILITY

© . RYAN CORRECTIONAL FAGHITY
17600 RYAN ROAD
DETROIT, Mi 48212

© WAYNE COUNTY JAIL
S70 CLINTON STREET
GETROT, Mi 48226
WAYHE COUNTY CODE: £6163

© OAKS CORRECTIONAL FACILITY
P.O, BOX 38, 1500 CABERFAE HWY,
EASTLAKE, Mi 49626-0035
MANESTEE COUNTY COGE: 20107

oO 6(GENESSE COUNTY JAIL
1002 3. SAGINAW

FUNT, Mi 48802
GENESSE GQUNTT CODE; 26049

OFFICE USE ONLY

PLAINTIFF ADDRESS: {IF NOT ABOVE)

 

PLAINTIFF'S GOUNTY OF RESIOENCE:

o SAGINAW CORRECTIONAL FACILITY
9625 PIERCE ROAD
FREELAND, MI 48623
SAGINAW COUNTY COGE: 26145

Oo WILLIAM DICKERSON FACILITY
3601 HAMTRAMCK DRIVE
HAMTRAMCEK, Ml 48214
WAYNE GOUNTY CODE: 20193

© BELLAMY CREEK CORRECTIONAL
FACILITY

1727 W. BLUEWATER HIGHWAY
fONIA, MI 46046 ‘

‘]) FONIA MAXIMUM FAGILITY

1576 W, BLUEWATER HIGHWAY
FOIA, MI 40846

0 DEERFIELD CORRECTIONAL FACILITY
4756 HARWOOD ROAD
OMNIA, MI 48846

@ RIVERSIDE CORRECTIONAL FACILITY
777 W. RIVERSIDE DRIVE
FONIA, MI 48846

HANDLON MICHIGAN TRAINING UNTT
1728 BLUEWATER HIGHWAY

P.0. BOX 492 _

FONLA, Ml 4BB45

FORLA COUNTY CODE: 24067

Oo (COOPER STREET CORRECTIONAL
FACILITY
4100 COOPER STREET
JACKSON, MI 45204

0  @. ROBERT COTTON CORRECTIONAL
FACILITY

3510 N. ELM ROAD
JACKSON, MI 49204

G CHARLES EGELER RECEPTION AND
GUIDANCE CENTER
3456 COOPER STREET
JACKSON, MI 49201

8 PARNALL CORRECTIONAL FACKLITY
1786 E. PARNALL
JACKSON, Mi aBz04

QO SOUTHERN MICHIGAN CORRECTIONAL
FAGILITY
4010 COOPER STREET
JACKSON, Mi 49201
JACKSON COUNTY CODE: 26075

BASIS OF JURISDICTION

Federal Question (U.S.
Goverment Nat a Party
Diversity

NATURE OF SUIT

S10 Motions to Vacate Sentence
630 Habess Comus
555 HabsaaDeath Penalty
540 Mandamus

5 560 Civil Rights
655 Prison Condition

a 860 Other

oa a

oO

U.S. Government Defendant

Defenc
o CH
434
Klh

OQ HIAWATHA Gyrriy rm ee -
#533 MARSHALL ROAD
KINGHELOE, MI 45786-0001

G STRAITS CORRECTIONAL FACILITY
4269 W, M80
KINCHELOE, Ml 497844hh04

0 RINROSS CORRECTIONAL FACHITY
18770 & WATERTOWER DRIVE
KINCHELOE, Mi 46788
CHIPPEWA COUNTY CODE: 26033

O MARQUETTE BRANCH PRISON
1968 5. US44
MARQUETTE, Ml 49555
MARQUETTE COUNTY COGE: 26104

oO THUMG CORRECTIONAL FACILITY
3225 JOHN CONLEY DRIVE
LAPEER, MI 48446
LAPEER COUNTY CODE: 26047

© FEDERAL CORRECTIONAL INSTUTION -

MILAN

PG, BOX 1600

MULAN, Ml 48160-1090

WASHTENAW COUNTY CODE: 26164

Oo 6MAGOME COUNTY JAIL
P.O. BOX 2308
MOUNT CLEMONS, ML 49043
MACOME GOUNTY CODE: 76098

O MUSKEGON CORRECTIONAL FACILITY
2400 SHERIDAN DRIVE
MUSKEGON, MI 40447

0 EARNEST C. BROOKS CORRECTIONAL
FACILITY
2500 5. SHERIDAN DRIVE
MUSKEGON HEIGHTS, Ml 48444
MUSKEGON GOUNTY COGE: 26121

Oo ALGER MAXIMUM FACILITY

MUNISING, MI 49862
ALGER CONTY CODE; 26003

ORIGIN

ars Original Proceeding

A’ 2 Removed From State Court
QO 5 Transferred from another
District

JURY DEMAND

Check YES only If damanded in
complaint

:
ves

FEE STATUS

sire In Forma Pauparis
WAI Walved

.O PD Fea Pald

Set

 

Case: 2:06-cv-15214

Assigned To; Lawson, David M
Referral Judge: Pepe, Steven D
Filed: 11-22-2006 at 08:57 AM

PRIS TOWNSEND V DUGGAN (EW)

oO

70 BE FILEDIN DUPLICATE WITH EVERY NEW'GIVIL ACTION _
istad Plaintiff Name of 1* Listed Defendant
Torea\ Townsend (Nike ie 2950.0

HEWBERRG DORR ens eee
4001 NEWBERRY AVENUE
NEWBERRY, MI 49868

LUCE COUNTY CODE: 26095

SCOTT CORRECTIONAL FACILITY
47600 FIVE MILE ROAD
PLYMOUTH, MI 48170

WESTERN WAYNE CORRECTIONAL
FAGLITY

46401 FIVE MILE ROAD
PLYMOUTH, Mi 48170

WATHE COUNTY CODE: 261483

QAKLAND COUNTY JAIL

P.O, BOX 436017

PONTIAC, MI 48343

OAKLAND COUNTY COOE: 26125

MiID-MIGHGIAN CORRECTIONAL FACILITY
RO,

PINE RIVER CORRECTIONAL FACILITY
320M, HUBBARD
ST. LOUIS, Ml 45880

ST. LOUIS CORRECTIONAL FAGUITY
8585 MW. CROGWELL ROAD

ST. LOUIS, Mi 48880

GRATIOT COUNTY CODE: 26057

STANDISH MAXIMUM CORRECTIO:
FACHITY .

4773 W, M51

STANDISH, Mi 486558

AREMAG COUNTY CODE: 26011

HURON VALLEY CENTER
3511 BEMIS ROAD
YPSILANTI, MI-45197

HURON VALLEY MEN'S FACILITY
3201 BEMIS ROAD

YPSILANTI, Mi 48197

WASHTENAW COUNTY CODE: 26461

CASE OPENING

QO
Oo

a
a
a

OPEN AS FP
"OPEN AS CV

OPEN AS &

GHANGE X TO CV
CHANGE X TO FP

NO CREDIT REASSIGN TO

> INT0.196-MIE. Rew: 05/03

 
